
940 So.2d 1267 (2006)
Robert DAVELLA, Petitioner,
v.
James R. McDONOUGH, Secretary, Florida Department of Corrections, Respondent.
No. 1D06-0403.
District Court of Appeal of Florida, First District.
November 6, 2006.
Robert Davella, pro se, Petitioner.
Charlie Crist, Attorney General, and Alexandria Walters, Assistant Attorney General, Tallahassee, for Respondent.
PER CURIAM.
Petitioner seeks certiorari review of the trial court's orders (1) denying his petition for a writ of mandamus challenging a forfeiture of gain time in his prison disciplinary proceeding and (2) imposing a lien on his inmate trust account to cover court costs and fees. Because the trial court afforded petitioner due process of law and did not depart from the essential requirements of law when it denied his petition for a writ of mandamus, we deny that portion of his petition for a writ of certiorari on the merits. However, because, as respondent correctly concedes, the action in the trial court was a collateral criminal action as that term is defined in Schmidt v. Crusoe, 878 So.2d 361 (Fla.2003), we grant the petition to the extent it seeks to have the order placing a lien on his inmate trust account vacated. See Cason v. Crosby, 892 So.2d 536 (Fla. 1st DCA 2005).
WEBSTER, BENTON, and VAN NORTWICK, JJ., concur.
